                                                                                                                                                 12/01/23 4:38PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF MICHIGAN

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RGP, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Quality Team 1
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  13381 Elmyra
                                  Detroit, MI 48227
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Wayne                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       qteam1.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    RGP, Inc.                                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3329

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    RGP, Inc.                                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
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Debtor   RGP, Inc.                                                                Case number (if known)
         Name

                           $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                           $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                           $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    RGP, Inc.                                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 1, 2023
                                                  MM / DD / YYYY


                             X /s/ Bradley Williams                                                       Bradley Williams
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Lynn M. Brimer                                                          Date December 1, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Lynn M. Brimer P43291
                                 Printed name

                                 Strobl PLLC
                                 Firm name

                                 33 Bloomfield Hills Parkway
                                 Suite 125
                                 Bloomfield Hills, MI 48304
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (248) 540-2300                Email address


                                 P43291 MI
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         RGP, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       December 1, 2023                X /s/ Bradley Williams
                                                           Signature of individual signing on behalf of debtor

                                                            Bradley Williams
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




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 Fill in this information to identify the case:

 Debtor name            RGP, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF MICHIGAN

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $        2,092,222.38

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $        2,092,222.38


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $        2,072,499.55


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        3,043,868.81


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           5,116,368.36




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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Fill in this information to identify the case:

Debtor name         RGP, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Oxford Bank                                       checking                              4408                                  $205,382.84




          3.2.     Oxford Bank                                       checking                              4507                                    $15,056.44



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $220,439.28
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Secrity Deposit SHIP Investors, LP                                                                                              $50,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1


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Debtor           RGP, Inc.                                                                Case number (If known)
                 Name




          7.2.     Security Deposit - Innovo-Gateway Pracel A, LLC                                                                 $50,000.00




          7.3.     Utility Deposits                                                                                                $39,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                     $139,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   325,000.00       -                                 0.00 = ....              $325,000.00
                                       face amount                          doubtful or uncollectible accounts
                                       Settlement payment due from Plastic Omnium Auto Exteriors, LLC

          11a. 90 days old or less:                   742,068.41       -                                 0.00 = ....              $742,068.41
                                       face amount                          doubtful or uncollectible accounts
                                       Greneral Trade Accounts


          11b. Over 90 days old:                      521,713.69       -                                0.00 =....                $521,713.69
                                       face amount                          doubtful or uncollectible accounts
                                       General trade accounts

12.       Total of Part 3.                                                                                                    $1,588,782.10
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                      page 2

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Debtor       RGP, Inc.                                                                      Case number (If known)
             Name



Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          General Office Furniture                                                        $0.00                                        $7,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computer Equipment                                                              $0.00                                       $10,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $17,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2003 Sterling Truck                                                    $0.00                                       $10,000.00


          47.2.    2003 53 foot trailer                                                   $0.00                                        $2,500.00


          47.3.    2011 Impala                                                            $0.00                                        $2,500.00


          47.4.    2008 Impala                                                            $0.00                                        $2,000.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3

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Debtor       RGP, Inc.                                                                 Case number (If known)
             Name

          47.5.    2015 Ram Truck                                                    $0.00                                        $10,000.00


          47.6.    Buick                                                             $0.00                                        $10,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          2013 Cat Forklift                                                          $0.00                                          $2,000.00


          Racking System                                                             $0.00                                        $25,000.00


          Blue Water air compressor                                                  $0.00                                        $10,000.00


          Kaeser Air Compressor                                                      $0.00                                        $18,000.00


          Generator                                                                  $0.00                                        $25,000.00


          General machinery and equipment                                            $0.00                                        $10,000.00



51.       Total of Part 8.                                                                                                   $127,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                        page 4

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Debtor        RGP, Inc.                                                                   Case number (If known)
              Name

           55.1.    Lease of 12601
                    Southfield Freeway            Equitable
                    Detroit, Mi 48223             interest                              $0.00                                                  $0.00


           55.2.    Lease interest in
                    3550 Clebrune Road            Equitable
                    Spring Hill, TN 37174         interest                              $0.00                                                  $0.00


           55.3.    Lease interest in
                    13381 Elmyra                  Equitable
                    Detroit 48227                 interest                              $0.00                                                  $0.00




56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.qteam1.com                                                               $1.00                                                  $1.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                                $1.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                          page 5

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Debtor        RGP, Inc.                                                                    Case number (If known)
              Name


             Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 6

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Debtor          RGP, Inc.                                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $220,439.28

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $139,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $1,588,782.10

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $17,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $127,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $1.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $2,092,222.38            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,092,222.38




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                            page 7

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Fill in this information to identify the case:

Debtor name         RGP, Inc.

United States Bankruptcy Court for the:           EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Oxford Bank                                  Describe debtor's property that is subject to a lien                 $197,500.00                       $0.00
      Creditor's Name                              All Asset
      60 South Washington
      Street
      PO Box 17
      Oxford, MI 48371
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
      DBernstein@Plunkettcoon                      Is the creditor an insider or related party?
      ey.com                                          No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      8-16-2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Oxford Bank                                  Describe debtor's property that is subject to a lien               $1,865,243.85                       $0.00
      Creditor's Name                              All Asset
      60 South Washington
      Street
      PO Box 17
      Oxford, MI 48371
      Creditor's mailing address                   Describe the lien
                                                   UCC-1
      DBernstein@plunkettcoone                     Is the creditor an insider or related party?
      y.com                                           No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      8-17-2017                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3


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Debtor      RGP, Inc.                                                                             Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      UniFi Equipment Finance,
2.3                                                                                                                         $576.39             $0.00
      Inc                                         Describe debtor's property that is subject to a lien
      Creditor's Name                             Equipment Lease
      801 W. Ellsworth Rd
      Ann Arbor, MI 48108
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Verdant Commerical
2.4                                                                                                                        $3,028.73            $0.00
      Capital                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             Equipment Lease
      PO Box 207202
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Wells Fargo Financial
2.5                                                                                                                        $6,150.58            $0.00
      Leasing                                     Describe debtor's property that is subject to a lien
      Creditor's Name                             Equipment Lease
      P.O. Box 10306
      Des Moines, IA 50306-0306
      Creditor's mailing address                  Describe the lien

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2 of 3


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Debtor      RGP, Inc.                                                                             Case number (if known)
            Name


                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



                                                                                                                           $2,072,499.5
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       5

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Douglas Bernstein
       Plunkett Cooney                                                                                      Line   2.1
       38505 Woodward Ave., Ste. 100
       Bloomfield Hills, MI 48304




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3


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Fill in this information to identify the case:

Debtor name        RGP, Inc.

United States Bankruptcy Court for the:         EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $307,645.92
          @Work                                                                Contingent
          1412 Trotwood Ave., Ste. 15                                          Unliquidated
          Columbia, TN 38401                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $62,059.79
          A & H Companies, LLC                                                 Contingent
          1715K S. Rutherford Blvd. #222                                       Unliquidated
          Murfreesboro, TN                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $100.00
          Alpha & Omega                                                        Contingent
          1471 W. Bristol Road, Ste. 2                                         Unliquidated
          Flint, MI 48507                                                      Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,000.00
          D&H Home Improvements                                                Contingent
          9676 M-32                                                            Unliquidated
          Herron, MI 49744                                                     Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 4
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Debtor      RGP, Inc.                                                                       Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $2,943.75
         Hall Render Killian Heath & Lyman                            Contingent
         39778 Treasury Center                                        Unliquidated
         Chicago, IL 60694-9700                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Legal Fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $139.95
         Image One                                                    Contingent
         13201 Capitol                                                Unliquidated
         Oak Park, MI 48237                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $528,617.12
         Innovo-Gateway Parcel A, LLC                                 Contingent
         1321 S. Westnedge Ave                                        Unliquidated
         Kalamazoo, MI 49008
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Unpaid Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $853.60
         JMJ Talent Solutions                                         Contingent
         4361 Franklin Street, Unit 23                                Unliquidated
         Michigan City, IN 46360                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.             $9,249.08
         Minute Men Staffing Services                                 Contingent
         781659 P.O. Box 78000                                        Unliquidated
         Detroit, MI 48226                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Staffing Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,852,788.38
         New Leaf Staffing, LLC                                       Contingent
         1705 S. Capital of Texas Hwy                                 Unliquidated
         Suite 203
                                                                      Disputed
         Austin, TX 78746
                                                                   Basis for the claim: Staffing Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $33,157.76
         Open Text Corporation                                        Contingent
         9711 Washington Blvd                                         Unliquidated
         Ste 700
                                                                      Disputed
         Gaithersburg, MD 20878
                                                                   Basis for the claim: Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 2 of 4



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Debtor       RGP, Inc.                                                                              Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $438.27
          Peopleready Inc.                                                    Contingent
          1553 E. Lafayette St.                                               Unliquidated
          Detroit, MI 48204                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $40,055.09
          Staff Finders                                                       Contingent
          850 Stephenson Hwy                                                  Unliquidated
          Ste 205
                                                                               Disputed
          Troy, MI 48083
                                                                           Basis for the claim: Staffing services
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No     Yes

3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $197,737.63
          Star Professional Services LLC                                      Contingent
          P.O. Box 302                                                        Unliquidated
          Romeo, MI 48065                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Staffing Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.15      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,805.49
          Xerox                                                               Contingent
          P.O. Box 202882                                                     Unliquidated
          Dallas, TX 75320-2882                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Equipment Lease
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.16      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,276.98
          Xpert Technologies                                                  Contingent
          38765 Mound Road, ste. 102                                          Unliquidated
          Sterling Heights, MI 48310                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Andrew Creal
          Second Floor - Essex Center                                                               Line     3.7
          28400 Northwestern Hwy.
                                                                                                           Not listed. Explain
          Southfield, MI 48034


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                          0.00
5b. Total claims from Part 2                                                                           5b.    +     $                  3,043,868.81

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 4



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Debtor      RGP, Inc.                                                    Case number (if known)
            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                    5c.     $              3,043,868.81




Official Form 206 E/F                Schedule E/F: Creditors Who Have Unsecured Claims                             Page 4 of 4



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Fill in this information to identify the case:

Debtor name       RGP, Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Staffing Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Excelsior Staffing, LLC
                                                                                    3800 Colonnade Parkway
           List the contract number of any                                          Suite 300
                 government contract                                                Birmingham, AL 35243


2.2.       State what the contract or            Equipment Lease - 5
           lease is for and the nature of        forklifts
           the debtor's interest

               State the term remaining
                                                                                    Financial Services
           List the contract number of any                                          9987 Carver Rd. Suite 110
                 government contract       3841000                                  Cincinnati, OH 45242


2.3.       State what the contract or            Employee Leasing
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             GC Hall LLC
                                                                                    1412 Trotwood Ave
           List the contract number of any                                          Suite 15
                 government contract                                                Columbia, TN 38401


2.4.       State what the contract or            Real Estate Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Innovo-Gateway Parcel A, LLC
           List the contract number of any                                          1321 S. Westnedge Ave
                 government contract                                                Kalamazoo, MI 49008




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 4


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Debtor 1 RGP, Inc.                                                               Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Production Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Magna Seating of America
          List the contract number of any                               30020 Cabot Dr.
                government contract                                     Novi, MI 48377


2.6.      State what the contract or        Staffing Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Minute Men Staffing of Michigan, Inc.
          List the contract number of any                               3740 Carnegie Ave.
                government contract                                     Cleveland, OH 44115


2.7.      State what the contract or        Staffing Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   New Leaf Staffing, LLC
                                                                        1705 S. Capital of Texas Hwy
          List the contract number of any                               Suite 203
                government contract                                     Austin, TX 78746


2.8.      State what the contract or        Staffing Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining

          List the contract number of any                               NL Houston Staffing, LLC
                government contract


2.9.      State what the contract or        Electrnoic Data
          lease is for and the nature of    Integration Services
          the debtor's interest             Subscription
                                            Agreement
             State the term remaining                                   Open Text Corporation
                                                                        9711 Washington Blvd
          List the contract number of any                               Ste 700
                government contract                                     Gaithersburg, MD 20878




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 4


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Debtor 1 RGP, Inc.                                                               Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Real Estate Lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        SHIPInvestors LP
          List the contract number of any                               3550 Cleburne Rd
                government contract                                     Spring Hill, TN 37174


2.11.     State what the contract or        Equipment Lease
          lease is for and the nature of    number 3841000
          the debtor's interest

             State the term remaining
                                                                        Verdant Commerical Capital, LLC
          List the contract number of any                               9887 Carver Road, Ste. 110
                government contract                                     Cincinnati, OH 45242


2.12.     State what the contract or        Equipment Lease
          lease is for and the nature of    number 3831001
          the debtor's interest

             State the term remaining
                                                                        Verdant Commerical Capital, LLC
          List the contract number of any                               9887 Carver Road, Ste. 110
                government contract                                     Cincinnati, OH 45242


2.13.     State what the contract or        Euipment Lease
          lease is for and the nature of    number 3841002
          the debtor's interest

             State the term remaining
                                                                        Verdant Commerical Capital, LLC
          List the contract number of any                               9887 Carver Road, Ste. 110
                government contract                                     Cincinnati, OH 45242


2.14.     State what the contract or        Equipment Lease
          lease is for and the nature of    (Lease #
          the debtor's interest             301-0008613-000)

             State the term remaining                                   Wells Fargo Equipment Finance
                                                                        800 Walnut Street
          List the contract number of any                               4th Floor
                government contract                                     Des Moines, IA 50309




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 3 of 4


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Debtor 1 RGP, Inc.                                                               Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.15.     State what the contract or        Equipment Lease
          lease is for and the nature of    (Lease #
          the debtor's interest             301-0008613-001)

             State the term remaining                                    Wells Fargo Equipment Finance
                                                                         800 Walnut St
          List the contract number of any                                4th Floor
                government contract                                      Des Moines, IA 50309


2.16.     State what the contract or        Equipment Lease
          lease is for and the nature of    (Lease #
          the debtor's interest             301-0008613-002)

             State the term remaining                                    Wells Fargo Equipment Finance
                                                                         800 Walnut St
          List the contract number of any                                4th Floor
                government contract                                      Des Moines, IA 50309


2.17.     State what the contract or        Office equipment lease
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Xerox Financial Services, LLC
          List the contract number of any                                201 Merritt, 7
                government contract                                      Norwalk, CT 06851




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 4 of 4


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Fill in this information to identify the case:

Debtor name      RGP, Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Bradley Williams            71227 Cedar Bend Lane                                     Oxford Bank                        D
                                      Romeo, MI 48065                                                                              E/F
                                                                                                                                   G




   2.2    Bradley Williams            68787 Hillside Lane                                       Oxford Bank                        D   2.1
                                      Washington, MI 48095                                                                         E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1

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Fill in this information to identify the case:

Debtor name         RGP, Inc.

United States Bankruptcy Court for the:    EASTERN DISTRICT OF MICHIGAN

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      For prior year:                                                                     Operating a business                          $15,442,646.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                          $17,246,126.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For the fiscal year:                                                                Operating a business                            $5,384,984.00
      From 1/01/2020 to 12/31/2020
                                                                                          Other


      For the fiscal year:                                                                Operating a business                            $8,422,125.00
      From 1/01/2019 to 12/31/2019
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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Debtor       RGP, Inc.                                                                          Case number (if known)




          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
              See Attached                                                                                 $0.00              Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                  Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                  Status of case
              Case number                                                          address
      7.1.    Manpower Mentoring Inc. vs.              Collection                  Macomb County Circuit                           Pending
              RGP Inc RLC                                                          Court                                           On appeal
              2023-001096-CB                                                       40 N. Main Street
                                                                                                                                   Concluded
                                                                                   Mount Clemens, MI 48043

      7.2.    Plastic Omnium Auto                                                  Oakland Count Circuit                           Pending
              Exteriors, LLC vs. RGP, Inc                                          Court                                           On appeal
              2023-1990625-CB                                                      1200 N Telegraph
                                                                                                                                   Concluded
                                                                                   Pontiac, MI 48341




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Debtor       RGP, Inc.                                                                           Case number (if known)



              Case title                              Nature of case               Court or agency's name and                 Status of case
              Case number                                                          address
      7.3.    Second Hartland vs. RGP Inc             Collection                   36th District Court                           Pending
              23344190-LT                                                          421 Madison St.                               On appeal
                                                                                   Detroit, MI 48226
                                                                                                                                 Concluded


      7.4.    New Leaf Solutions, LLC v.              Collection                   Wayne County Circuit Court                    Pending
              Quality Team One                                                     2 Woodward Ave.                               On appeal
              23-013047-CK                                                         Detroit, MI 48226
                                                                                                                                 Concluded

      7.5.    Innovo - Gateway Parcel A,              Civil                        36th District Court                           Pending
              LLC v. R.G.P. Inc.                                                   421 Madison St.                               On appeal
              23-358708                                                            Detroit, MI 48226
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                              Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss               Value of property
      how the loss occurred                                                                                                                               lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received             If not money, describe any property transferred               Dates                    Total amount or
               the transfer?                                                                                                                            value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.



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Debtor      RGP, Inc.                                                                            Case number (if known)




          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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Debtor      RGP, Inc.                                                                            Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                   Value
      Magna Seating Detroit                                                                        Obsolete Tooling and Racks                             $0.00
      12800 Oakland Park Blvd.
      Highland Park, MI 48203


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

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Debtor      RGP, Inc.                                                                           Case number (if known)



      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Doeren Mayhew                                                                                                      2017 - present
                    305 West Big Beaver Road
                    Troy, MI 48084

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Doeren Mayhew                                                                                                      2017 - present
                    305 West Big Beaver Road
                    Troy, MI 48084

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Doeren Mayhew                                                                    2017 - present
                    305 West Big Beaver Road
                    Troy, MI 48084

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                           page 6


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Debtor      RGP, Inc.                                                                            Case number (if known)



          statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Oxford Bank
                    720 N. Lapeer Road Suite 201
                    Lake Orion, MI 48362

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                              Position and nature of any            % of interest, if
                                                                                                   interest                              any
      Bradley Williams                        68787 Hillside Lane                                  President/ Shareholder                100
                                              Washington, MI 48095



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient            Amount of money or description and value of               Dates              Reason for
                                                        property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                       Employer Identification number of the parent
                                                                                                        corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                             Employer Identification number of the pension
                                                                                                        fund




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Debtor      RGP, Inc.                                                                           Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         December 1, 2023

/s/ Bradley Williams                                            Bradley Williams
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 8


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                                                               United States Bankruptcy Court
                                                                        Eastern District of Michigan
 In re   RGP, Inc.                                                                                                                       Case No.
                                                                                               Debtor(s)                                 Chapter    11


                                                           STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                              PURSUANT TO F.R.BANKR.P. 2016(b)
         The undersigned, pursuant to F.R.Bankr.P. 2016(b), states that:
1.       The undersigned is the attorney for the Debtor(s) in this case.
2.       The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]
         [ ]     FLAT FEE
          A.      For legal services rendered in contemplation of and in connection with this case,
                  exclusive of the filing fee paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
          B.           Prior to filing this statement, received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. .
          C.           The unpaid balance due and payable is . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
         [X]          RETAINER
          A.          Amount of retainer received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .          14,040.50

          B.           The undersigned shall bill against the retainer at an hourly rate of $ 500.00 . [Or attach firm hourly rate schedule.]
                       Debtor(s) have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.       $     1,738.00        of the filing fee has been paid.
4.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Cross out any
         that do not apply.]
         A.           Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
                      bankruptcy;
         B.           Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
         C.           Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         D.           Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
         E.           Reaffirmations;
         F.           Redemptions;
         G.           Other:
                      Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                      reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                      522(f)(2)(A) for avoidance of liens on household goods.
5.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                  Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
                  actions or any other adversary proceeding.
6.       The source of payments to the undersigned was from:
          A.        XX              Debtor(s)' earnings, wages, compensation for services performed
          B.                        Other (describe, including the identity of payor)




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7.        The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or
          corporation, any compensation paid or to be paid except as follows:

Dated:      December 1, 2023                                                             /s/ Lynn M. Brimer
                                                                                         Attorney for the Debtor(s)
                                                                                         Lynn M. Brimer
                                                                                         Strobl PLLC
                                                                                         33 Bloomfield Hills Parkway
                                                                                         Suite 125
                                                                                         Bloomfield Hills, MI 48304
                                                                                         (248) 540-2300

                                                                                         P43291 MI

Agreed:     /s/ Bradley Williams
            Bradley Williams
            Debtor                                                                       Debtor




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                                                      United States Bankruptcy Court
                                                             Eastern District of Michigan
 In re    RGP, Inc.                                                                                               Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Bradley Williams                                                                  100%                                       Shareholder
71227 Cedar Bend Lane
Romeo, MI 48065


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date December 1, 2023                                                    Signature /s/ Bradley Williams
                                                                                        Bradley Williams

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders



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                                                                                                                                  12/01/23 4:38PM




                                               United States Bankruptcy Court
                                                      Eastern District of Michigan
 In re   RGP, Inc.                                                                                Case No.
                                                                     Debtor(s)                    Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     December 1, 2023                               /s/ Bradley Williams
                                                         Bradley Williams/President
                                                         Signer/Title




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                       @Work
                       1412 Trotwood Ave., Ste. 15
                       Columbia, TN 38401


                       A & H Companies, LLC
                       1715K S. Rutherford Blvd. #222
                       Murfreesboro, TN


                       Alpha & Omega
                       1471 W. Bristol Road, Ste. 2
                       Flint, MI 48507


                       Andrew Creal
                       Second Floor - Essex Center
                       28400 Northwestern Hwy.
                       Southfield, MI 48034


                       Bradley Williams
                       71227 Cedar Bend Lane
                       Romeo, MI 48065


                       Bradley Williams
                       68787 Hillside Lane
                       Washington, MI 48095


                       D&H Home Improvements
                       9676 M-32
                       Herron, MI 49744


                       Douglas Bernstein
                       Plunkett Cooney
                       38505 Woodward Ave., Ste. 100
                       Bloomfield Hills, MI 48304


                       Excelsior Staffing, LLC
                       3800 Colonnade Parkway
                       Suite 300
                       Birmingham, AL 35243


                       Financial Services
                       9987 Carver Rd. Suite 110
                       Cincinnati, OH 45242




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                   GC Hall LLC
                   1412 Trotwood Ave
                   Suite 15
                   Columbia, TN 38401


                   Hall Render Killian Heath & Lyman
                   39778 Treasury Center
                   Chicago, IL 60694-9700


                   Image One
                   13201 Capitol
                   Oak Park, MI 48237


                   Innovo-Gateway Parcel A, LLC
                   1321 S. Westnedge Ave
                   Kalamazoo, MI 49008


                   JMJ Talent Solutions
                   4361 Franklin Street, Unit 23
                   Michigan City, IN 46360


                   Magna Seating of America
                   30020 Cabot Dr.
                   Novi, MI 48377


                   Minute Men Staffing of Michigan, Inc.
                   3740 Carnegie Ave.
                   Cleveland, OH 44115


                   Minute Men Staffing Services
                   781659 P.O. Box 78000
                   Detroit, MI 48226


                   New Leaf Staffing, LLC
                   1705 S. Capital of Texas Hwy
                   Suite 203
                   Austin, TX 78746


                   NL Houston Staffing, LLC



                   Open Text Corporation
                   9711 Washington Blvd
                   Ste 700
                   Gaithersburg, MD 20878

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                   Oxford Bank
                   60 South Washington Street
                   PO Box 17
                   Oxford, MI 48371


                   Peopleready Inc.
                   1553 E. Lafayette St.
                   Detroit, MI 48204


                   SHIPInvestors LP
                   3550 Cleburne Rd
                   Spring Hill, TN 37174


                   Staff Finders
                   850 Stephenson Hwy
                   Ste 205
                   Troy, MI 48083


                   Star Professional Services LLC
                   P.O. Box 302
                   Romeo, MI 48065


                   UniFi Equipment Finance, Inc
                   801 W. Ellsworth Rd
                   Ann Arbor, MI 48108


                   Verdant Commerical Capital
                   PO Box 207202
                   Dallas, TX 75320


                   Verdant Commerical Capital, LLC
                   9887 Carver Road, Ste. 110
                   Cincinnati, OH 45242


                   Wells Fargo Equipment Finance
                   800 Walnut Street
                   4th Floor
                   Des Moines, IA 50309


                   Wells Fargo Equipment Finance
                   800 Walnut St
                   4th Floor
                   Des Moines, IA 50309




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                   Wells Fargo Financial Leasing
                   P.O. Box 10306
                   Des Moines, IA 50306-0306


                   Xerox
                   P.O. Box 202882
                   Dallas, TX 75320-2882


                   Xerox Financial Services, LLC
                   201 Merritt, 7
                   Norwalk, CT 06851


                   Xpert Technologies
                   38765 Mound Road, ste. 102
                   Sterling Heights, MI 48310




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